                      Case 1:21-mj-00297-GMH Document 1 Filed 03/10/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                     Thomas F. Sibick
                                                                     )
                     DOB: XXXXXX                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
        Lawful Authority,
        40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 111(a)(1) - Assaulting, Resisting, or Impeding Certain Officers,
        18 U.S.C. § 2111 - Taking from a Person Anything of Value by Force and Violence or by Intimidation
        Within Special Maritime and Territorial Jurisdiction.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                   William Matos-Ginorio, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                           Digitally signed by
Date:
                                                                                                           G. Michael Harvey
                  03/10/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
